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   13                       UNITED STATES DISTRICT COURT
   14                      CENTRAL DISTRICT OF CALIFORNIA

   15 P AND P IMPORTS LLC                            Case No. 8:19-cv-00898-AG-KES
   16              Plaintiff,                         MEMORANDUM OF POINTS
                                                      AND AUTHORITIES IN
   17        v.
                                                      SUPPORT OF MOTION TO
   18 OJCOMMERCE, LLC, et al.,                        DISMISS PLAINTIFF’S FIRST
                                                      AMENDED COMPLAINT OR
   19              Defendants.
                                                      ALTERNATIVELY TO
   20                                                 TRANSFER
   21
                                                     Hearing Date: Aug 12, 2019
   22                                                Time: 10:00 AM
   23
                                                     Judge: Hon. Andrew J. Guilford
                                                     Courtroom: 10D
   24

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   26

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    1
    2                                  MEMORANDUM OF LAW

    3    I.      Introduction
                 Defendants OJ COMMERCE, LLC (“OJC”) and OJCOMMERCE.COM,
    4
              INC. (“OJC.COM”) (collectively “Defendants”), move this Court to dismiss the
    5
              complaint filed against them by Plaintiff P AND P IMPORTS LLC, pursuant to
    6
              Federal Rules of Civil Procedure 12(b)(2), 12(b)(3), and 12(b)(6), or
    7
              alternatively for this case to be transferred to the Southern District of Florida,
    8
              pursuant to 28 U.S.C. § 1404(a).
    9

   10   II.      Factual and Procedural History
                   1. On May 13, 2019, Plaintiff initiated this action, and on May 14, filed
   11

   12         its first amended complaint, against Defendants for (1) trademark violations, (2)
   13
              copyright violations, (3) trade dress violations, (4) California statutory unfair
   14

   15
              competition, and (5) California common law unfair competition. [D.E. 9].

   16               2. The complaint alleges Defendants infringed on Plaintiff’s intellectual
   17
              property, and misrepresented a Washer Toss (the “Product”), by using its
   18

   19
              trademark, images, and offered for sale on Defendants website

   20         www.ojcommerce.com, [Id. at 5 ❡ 16], and amazon.com. [Id. at 6 ❡ 17].
   21
                    3. The complaint seeks damages against OJC, OJC.COM, and 10 other
   22
   23         unnamed defendants pseudo named Does 1-10, [Id. at 3 ❡❡ 6-8], by broadly and
   24
              generally alleging that all defendants were acting within the scope of agents of
   25
   26         each other, without attributing specific actions to specific actors. [Id. at 3 ❡ 10].
   27

   28
                                                        5
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    1
                   4. Plaintiff alleges this Court has personal jurisdiction over Defendants

    2      because it “transact[s] and solicit[s] business” within the State of California, [Id.
    3
           at 2 ❡ 2], “advertised, sold, and distributed the [P]roduct” in California. Plaintiff
    4

    5      alleges proper venue in this district, because “a substantial part of the events or
    6
           omissions giving rise to the claims” occurred within this district. [Id. at 2 ❡ 3].
    7
    8              5. In support of the complaint, Plaintiff attaches two orders Plaintiff
    9      preportadly purchased from Defendant, one through its website
   10
           ojcommerce.com, [Id. at 6 n.4], and one purchased on amazon.com. [Id. at 7
   11

   12      n.6].
   13              6. In support of this motion, Defendants attach an affidavit of Jacob
   14
           Weiss, an officer and authorized agent of Defendant OJC. [Weiss Aff.].
   15

   16
      III. Arguments
   17 Plaintiff’s complaint fails to allege proper jurisdiction and venue, and fails to

   18
        plausibly allege valid causes of action. Accordingly, Defendants request that:
   19

   20
                   a. This case be dismissed because this California Court lacks personal

   21         jurisdiction over the Defendants.
   22
                   b. Alternatively, this case be transferred to the Southern District of Florida
   23

   24
              pursuant to 28 U.S.C. § 1404(a), due to improper venue.

   25              c. The case be dismissed because Plaintiff’s complaint is a classic shotgun
   26
              pleading that violates Rule 8.
   27

   28
                                                     6
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    1
                 d. Plaintiff’s State based causes of action be dismissed because they are

    2         preempted by Federal law.
    3
                 e. Plaintiff’s allegation of fraud be dismissed for failure to plead with
    4

    5         particularity and violates Rule 9(b).

    6
              A. This Court lacks personal jurisdiction over Defendants
    7
    8
              Defendants are non-resident of California, and challenge personal jurisdiction

    9 pursuant to Fed. R. Civ. P 12(b)(2).        When personal jurisdiction is challenged,
   10
        Plaintiff bears the burden to establish that personal jurisdiction exists. Boschetto v.
   11

   12
        Hansing, 539 F.3d 1011, 1015 (9th Cir. 2008). The question for this Court is to

   13 decide whether Defendants had minimum contact with California, and whether

   14
        exercising personal jurisdiction over Defendants would offend traditional notions of
   15

   16 fair play and substantial justice. Schwarzenegger v. Fred Martin Motor Co., 374

   17 F.3d 797, 801 (9th Cir. 2004).

   18

   19         1. Defendants are not subject to general jurisdiction within California

   20         A defendant may be subjected to general jurisdiction within a state, when its
   21
        actions in that state are substantial, continuous and systematic, Helicopteros
   22
   23 Nacionales de Colombia, S.A. v. Hall, 466 U.S. 408, 415, 104 S.Ct. 1868, 80

   24 L.Ed.2d 404 (1984). General jurisdiction only applies when a defendant’s actions

   25
        “are so continuous and systematic as to render them essentially at home in the forum
   26

   27 State.” Goodyear Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 915, 919

   28
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    1
        (2011). “The paradigmatic locations where general jurisdiction is appropriate over a

    2 corporation are its place of incorporation and its principal place of business.” Ranza

    3
        v. Nike, Inc., 793 F.3d 1059, 1069 (9th Cir. 2015) (emphasis added).
    4

    5         Here, the complaint does not allege sufficient facts to show continuous and

    6 systematic activity within California to subject Defendants to general jurisdiction.

    7
        Most importantly, the complaint neither alleges Defendants are incorporated in
    8

    9 California, nor Defendants principal place of business are in California.       To the

   10 contrary, Plaintiff acknowledges that Defendants are foreign corporations with a
   11
        principal place of business in Florida. [D.E. 9 at 3 ❡❡ 6-7]. Therefore, this Court
   12

   13 cannot exercise general jurisdiction over Defendants.

   14

   15
              2. Defendants are not subject to specific jurisdiction within California

   16         This Circuit has established the following three prong test to determine
   17
        whether a defendant is subject to specific jurisdiction in California:
   18
                     (1) The non-resident defendant must purposefully direct his activities or
   19
                     consummate some transaction with the forum or resident thereof; or
   20                perform some act by which he purposefully avails himself of the
                     privilege of conducting activities in the forum, thereby invoking the
   21
                     benefits and protections of its laws;
   22                (2) the claim must be one which arises out of or relates to the
   23
                     defendant's forum-related activities; and
                     (3) the exercise of jurisdiction must comport with fair play and
   24                substantial justice, i.e. it must be reasonable.
   25
        Schwarzenegger, 374 F.3d at 802.
   26

   27

   28
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    1
                To satisfy the first prong of the Schwarzenegger test in a tort case, courts

    2 further use a “purposeful direction” analysis applying the following three prong test:

    3
                the defendant allegedly must have: (1) committed an intentional act, (2)
    4           expressly aimed at the forum state, (3) causing harm that the defendant knows
    5           is likely to be suffered in the forum state.

    6 Brayton Purcell LLP v. Recordon & Recordon, 606 F.3d 1124, 1128 (9th Cir. 2010).

    7                 a) Defendants did not expressly aim at California
    8
                To satisfy the Brayton “express aiming” prong, the action “must arise out of
    9

   10
        contacts that the ‘defendant himself’ creates with the forum State,” and the court

   11 cannot rely on contact between the plaintiff and the forum state. Walden v. Fiore,

   12
        571 U.S. 277, 284 (2014).1
   13

   14           Here, the mere fact that Plaintiff is a California resident, is not sufficient to

   15 establish personal jurisdiction over Defendants, even if Defendants intended to

   16
        cause harm to Plaintiff. But rather the Court must find Defendants’ tortious actions
   17

   18 themselves were purposely aimed within the State of California.

   19
                      b) Plaintiff fails to allege sufficient contact with California to
   20                    satisfy the “express aiming” prong.
   21
        1
            Although Washington Shoe Co. v. A-Z Sporting Goods Inc., 704 F.3d 668, 675 (9th
   22 Cir. 2012) suggests that “wrongful conduct targeted at a plaintiff whom the
   23 defendant knows to be a resident of the forum state” is sufficient to satisfy the
        express aiming prong. Courts across this circuit repeatedly found that Washington
   24 Shoe was explicitly overruled by Walden. See Erickson v. Nebraska Mach. Co., 15-

   25 CV-01147-JD, 2015 WL 4089849, at *3 (N.D. Cal. July 6, 2015); Picot v. Weston,
        780 F.3d 1206, 1214 (9th Cir. 2015); Adobe Sys. Inc. v. Cardinal Camera & Video
   26 Ctr., Inc., 15-CV-02991-JST, 2015 WL 5834135, at *4 (N.D. Cal. Oct. 7, 2015);

   27 Under a Foot Plant, Co. v. Exterior Design, Inc., 2 No. 6:14-cv-01371-AA, 2015
        WL 1401697, at *4 n.1 (D. Or. Mar. 24, 2015).
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     1
               Plaintiff attempts to establish personal jurisdiction, based on an allegation of

     2 (1) willful infringement on its trademark, [D.E. 9 at 10 ❡ 30]; (2) use of Plaintiff’s

     3

     4
         copyright images and trademark on the internet, [Id. at 7 ❡ 17-18]; (3) marketing

     5
         and selling of the allegedly infringed product to California residents, [Id. at 7 ❡ 17];
     6

     7
         and (4) two sales transactions Plaintiff itself ordered to be shipped in California

     8 [D.E. 9-3, 9-4, 9-5]. None of these activities are sufficient to establish personal

     9
         jurisdiction over Defendants.
    10
    11         California courts have found that none of Plaintiff’s allegations, even if taken

    12 as true, are sufficient to establish personal jurisdiction over Defendants.       Willful
    13
         infringement on a California resident’s intellectual property is insufficient to
    14

    15 establish personal jurisdiction. Adobe Sys. Inc. v. Cardinal Camera & Video Ctr.,

    16 Inc., 15-CV-02991-JST, 2015 WL 5834135, at *3-4 (N.D. Cal. Oct. 7,

    17
         2015)(“Adobe argues that personal jurisdiction exists under this prong, relying
    18

    19 heavily on Washington Shoe for the proposition that an intentional act, such as

    20 willful copyright infringement [...] the Court rejects Adobe's argument that Cardinal

    21
         expressly aimed its conduct at California because Cardinal was aware of Adobe's
    22
    23 domicile in the Northern District of California”).       Posting Plaintiff’s intellectual

    24 property on Defendant’s website is insufficient to establish personal jurisdiction.

    25
         Erickson v. Nebraska Mach. Co., 15-CV-01147-JD, 2015 WL 4089849, at *4 (N.D.
    26

    27 Cal. July 6, 2015) (“The mere act of copying Erickson's photographs and posting

    28
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     1
         them on NMC's website did not involve entering California, contacting anyone in

     2 California, or otherwise reaching out to California.”).      Marketing and selling to
     3
         California residents through Defendant’s website or Amazon.com is insufficient to
     4

     5 establish personal jurisdiction. Adobe, 15-CV-02991-JST, 2015 WL 5834135, at * 4

     6 (“Adobe argues that the express aiming prong is satisfied here because 1.2% of

     7
         Cardinal's sales are shipped to California and because Cardinal advertises for sale
     8

     9 and sells infringing software on its website and through its Amazon.com account”).

    10         Here, even if this Court were to take all of Plaintiff’s allegations as true, the
    11
         facts alleged are not sufficient to establish personal jurisdiction over Defendants,
    12

    13 because Plaintiff fails to allege that Defendants sales to California were not

    14 “random, fortuitous, or attenuated” and merely because California “is where the

    15
         purchaser happened to reside.” Boschetto v. Hansing, 539 F.3d 1011, 1019 (9th Cir.
    16

    17 2008). Therefore, Plaintiff failed to allege sufficient facts to satisfy the required

    18 elements in Brayton, and this Court lacks personal jurisdiction over Defendants.

    19
               This underlying allegations in this case are substantially similar to Adobe,
    20

    21 where plaintiff alleged intentional infringement, Adobe, 15-CV-02991-JST, 2015

    22 WL 5834135, at * 3 (“These alleged sales constitute “intentional acts” under
    23
         Calder's effects test”), knowledge that harm will be caused to a California resident,
    24

    25 Id. at * 5 (“Beyond its reliance on Adobe's presence in California and Cardinal's
    26 alleged knowledge thereof”), and Defendant advertised and sold to California

    27
         residents through its website and Amazon, Id. (“Adobe argues that the express
    28
                                                   11
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     1
         aiming prong is satisfied here because 1.2% of Cardinal's sales are shipped to

     2 California and because Cardinal advertises for sale and sells infringing software on

     3
         its website and through its Amazon.com account.”). Yet, the Adobe court found it
     4

     5 lacks personal jurisdiction over the defendant, because “Adobe does not allege that

     6 Cardinal's website contained content tailored for California residents.”, and

     7
         “Cardinal's website has a broad and indiscriminate scope”, and even the “1.2% of
     8

     9 Cardinal's sales shipped to California are likewise unhelpful to Adobe because they

    10 too show no purposeful direction. Random, fortuitous, or attenuated” becuase it
    11
         “involved the forum state only because that is where the purchaser happened to
    12

    13 reside.” Id. (internal quotation omitted).

    14           Therefore, like Adobe, this Court must find that even if all of Plaintiff’s
    15
         allegations are true, it fails to allege sufficient facts to establish personal jurisdiction
    16

    17 over the Defendants.

    18
                       c) Defendants controvert the bare allegations of the complaint
    19
                 Even if this Court were to disagree with Adobe and Erickson2, and find that
    20
         Washington Shoe was not overruled, this Court must still find it has no personal
    21

    22 jurisdiction over Defendants, because Defendants did not expressly aim its activities
    23
         in California.
    24

    25
         2
             See Adobe Sys. Inc. v. Cardinal Camera & Video Ctr., Inc., 15-CV-02991-JST,
    26 2015 WL 5834135, at *4 (N.D. Cal. Oct. 7, 2015), recognizing that some courts still

    27 consider Washington Shoe to be good law, e.g. Exobox Techs. Corp. v. Tsambis,3
         No. 2:14-cv-00501, 2015 WL 82886, at *5–6 (D. Nev. Jan. 6, 2015).
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     1
                The rule is that “where a plaintiff's claim of personal jurisdiction appears to

     2 be both attenuated and based on bare allegations in the face of specific denials made

     3
         by the defendants” a court may deny personal jurisdiction based on a defendant’s
     4

     5 denials. Pebble Beach Co. v. Caddy, 453 F.3d 1151, 1160 (9th Cir. 2006). Here,

     6 Plaintiff does not submit any facts to support its allegation that Defendants acts were

     7
         willful, or intentionally aimed at Plaintiff, nor does Plaintiff allege any facts to show
     8

     9 that Defendants knew its actions will harm California residents. To the contrary,

    10 Plaintiff’s bare allegations are conflicted by Defendants’ sworn affidavit explicitly
    11
         denying that any acts were intentional, and Defendants lack of any knowledge that
    12

    13 its actions would harm any California resident. [Weiss Aff. ❡❡ 7-11]. Therefore,

    14
         Plaintiff failed to satisfy the three prong Brayton analysis, and this Court lacks
    15
         personal jurisdiction over Defendants.
    16

    17
                      d) This court may not consider Plaintiff’s own transactions to
    18                   establish personal jurisdiction over Defendants.
    19
               The second prong of the Schwarzenegger test requires the action to arise out
    20
         of the contact with the forum state. “The Ninth Circuit interprets the second prong
    21

    22 of the Schwarzenegger test as a ‘but for’ test.” United Aeronautical Corp. v. HB
    23
         Corp., CV1604017BRORAOX, 2017 WL 3081682, at *8 (C.D. Cal. Feb. 3,
    24
         2017)(citing Shute v. Carnival Cruises Lines, 897 F.2d 377, 385 (9th Cir. 1990),
    25
    26 rev'd on other grounds, 499 U.S. 585 (1991)).

    27

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     1
                Applying the “but for” test here, it is clear that this action does not arise from

     2 the orders Plaintiff personally placed on Defendants website, or amazon.com.

     3
         Rather this cause of action arises from sales or transactions made to the public at
     4

     5 large.    It is implausible that Plaintiff brings this complaint based on damages it

     6 incurred as a result of the two transactions it placed on Defendants websites. It is

     7
         also implausible that “but for” Defendants infringing actions, Plaintiff suffered
     8

     9 damages from these two orders it placed on Defendants websites. Rather, it is much

    10 more plausible that these orders were placed by Plaintiff for the sole purpose of
    11
         gathering evidence against Defendants, and these transactions are not the basis for
    12

    13 the allegations of its complaint. Therefore, these transactions by Plaintiff fail the

    14 Carnival “but for” test, and cannot be used to establish personal jurisdiction over

    15
         Defendants.
    16

    17          3. The exercise of personal jurisdiction over Defendants does not
                   comport with traditional notions of fair play and substantial justice
    18

    19          Plaintiff also fails to satisfy the third prong of the Schwarzenegger test.
    20
         Assuming Plaintiff’s unsupported conclusory allegations are sufficient, this Court
    21

    22 still lacks personal jurisdiction, because having Defendants required to defend this
    23 action in California would “offend traditional notions of fair play and substantial

    24
         justice.” Burger King Corp. v. Rudzewicz, 471 U.S. 462, 477-78 (1985) (“minimum
    25
    26 requirements inherent in the concept of ‘fair play and substantial justice’ may defeat

    27 the reasonableness of jurisdiction even if the defendant has purposefully engaged in

    28
                                                     14
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     1
         forum activities.”). To determine whether “fair play and substantial justice” would

     2 be offended by exercising jurisdiction, a court must:

     3
                     evaluate “the burden on the defendant,” “the forum State’s interest in
     4               adjudicating the dispute,” “the plaintiff's interest in obtaining
     5               convenient and effective relief,” “the interstate judicial system’s
                     interest in obtaining the most efficient resolution of controversies,” and
     6               the “shared interest of the several States in furthering fundamental
     7               substantive social policies.”

     8         Id. at 477. To determine reasonableness this Circuit further established that a
     9
         court must consider the following seven factors:
    10
    11               (1) the extent of the defendant's purposeful interjection into the forum
                     state's affairs; (2) the burden on the defendant of defending in the
    12               forum; (3) the extent of conflict with the sovereignty of the defendants'
    13               state; (4) the forum state's interest in adjudicating the dispute; (5) the
                     most efficient judicial resolution of the controversy; (6) the importance
    14               of the forum to the plaintiff's interest in convenient and effective relief;
    15               and (7) the existence of an alternative forum.

    16         Menken v. Emm, 503 F.3d 1050, 1060 (9th Cir. 2007). Furthermore, courts in
    17
         this district have specifically emphasized the following factors to determine
    18

    19 reasonableness: “[T]he slightness of the purposeful interjection militates against the

    20 reasonableness of jurisdiction.” Ins. Co. of N. Am. v. Marina Salina Cruz, 649 F.2d

    21
         1266, 1271 (9th Cir. 1981). When evaluating the burden “the court may give more
    22
    23 consideration to the defendant's burden.” United Aeronautical Corp. v. HB Corp.,

    24 CV1604017BRORAOX, 2017 WL 3081682, at *9 (C.D. Cal. Feb. 3, 2017). Where

    25
         “[m]ost of the key events that would need to be proved, ” and “[t]he site where the
    26

    27 events in question took place or where most of the evidence is located usually will

    28
                                                   15
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     1
         be the most efficient forum.” Brand v. Menlove Dodge, 796 F.2d 1070, 1075 (9th

     2 Cir. 1986); “In evaluating [the efficiency of the forum] factor, we have looked

     3
         primarily at where the witnesses and the evidence are likely to be located.” Core-
     4

     5 Vent Corp. v. Nobel Indus. AB, 11 F.3d 1482, 1489 (9th Cir. 1993).

     6         Here, an analysis of the seven factors applied to the facts of this case, weighs
     7
         heavily in favor of Defendants and for removal of this case to Florida. The
     8

     9 allegations in the complaint for Defendants target in California, are a mere slight

    10 interjection at best, and broadly alleges sales “in the United States, including to
    11
         California,” [D.E. 9 at 7 ❡17]. There is no allegation that Defendants have any
    12

    13 physical presence in California, agents in California, or that Defendants website was

    14
         specifically tailored to target California residents.     In fact, when eliminating
    15
         Defendants two transactions in California, Defendants only sold two allegedly
    16

    17 infringed items to California residents. [Weiss Aff. ❡ 12]. Therefore this Court must

    18
         find that such a slight interjection militates against the reasonableness of exercising
    19

    20 personal jurisdiction over Defendants.

    21
               Additionally, the burden of having to defend this action in California will be
    22
         significant.   The alleged infringement took place in Florida, and not in California,
    23

    24 the key events of the alleged infringement to be proven, such as business plans,

    25
         development, advertising, fulfillment, and all other business related activities by
    26
         Defendants took place in Florida, all of the evidence, and witnesses are also located
    27

    28 in Florida. Having Defendant travel 2700 miles to California will be a significant
                                              16
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     1
         burden.     Therefore, the most convenient forum is Florida, not California, and

     2 subjecting Defendants to personal jurisdiction will be unreasonable, and offend

     3
         traditional notions of fair play and substantial justice.
     4

     5         B. Venue is not proper in the Central District of California
     6
               Jurisdiction aside, venue is improper here. Plaintiff’s complaint is based on
     7
     8
         copyright infringement, as well as other intellectual property infringements.

     9         To establish venue over this action, Plaintiff must show that venue is proper
    10
         not only for the copyright claim, but for the trademark, and other claims as well.
    11

    12
         United Truck & Equipment, Inc. v. Curry Supply Co., No. CV08–01046–PHX–

    13 GMS, 2008 WL 4811368, *11 (D.Ariz. Nov. 5, 2008) (“Despite venue being proper

    14
         for United's federal copyright claim, there must be an independent basis for venue
    15

    16 with respect to United's federal trademark claims and derivative state claims”).

    17 Therefore, venue in this case must be analyzed under 28 U.S.C. § 1391(b)(2), which

    18
         requires venue to be where a “substantial part of the events or omissions giving rise
    19

    20 to the claim” took place

    21         Additionally, In trademark infringement cases, venue is only proper where a
    22
         substantial part of the passing off took place, and the consumer likely to be
    23

    24 confused, i.e. where the consumer buys the product. Sykes Lab., Inc. v. Kalvin, 610

    25 F.Supp. 849, 860 n. 8 (C.D.Cal.1985).          Merely posting infringing material on a
    26
         website, is not sufficient to establish venue. Golden Scorpio Corp. v. Steel Horse
    27

    28 Bar & Grill, 596 F. Supp. 2d 1282, 1287 (D. Ariz. 2009).
                                                17
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     1
               Here, there is no allegation that any substantial action took place in this

     2 district, to the contrary, Plaintiff repeatedly alleges that the passing off took place

     3
         throughout the United States, [D.E. 9 at 7 ❡17], furthermore, Plaintiff acknowledges
     4

     5 that its consumer likely to be confused, are located “across the United States and in

     6
         other countries such as Canada, Mexico, Australia, and the United Kingdom,” [Id. at
     7
     8
         4 ❡11], thus there is no real relationship between Defendants actions and this

     9 district, as no substantial part of Defendants actions took place within this district.

    10
         Therefore venue in this district is improper, and this action should be dismissed for
    11

    12 lack of proper venue, or alternatively transferred, as discussed below.

    13
               C. Venue should be transferred to the Southern District of Florida
    14

    15         This court may transfer venue, Pursuant to 28 U.S.C. § 1404(a):
    16                For the convenience of parties and witnesses, in the interest of justice, a
    17                district court may transfer any civil action to any other district or
                      division where it might have been brought or to any district or division
    18                to which all parties have consented.
    19
               The purpose of § 1404(a) is “to prevent the waste ‘of time, energy and
    20

    21 money’ and ‘to protect litigants, witnesses and the public against unnecessary

    22 inconvenience and expense.’” Van Dusen v. Barrack, 376 U.S. 612, 616 (1964).
    23
               Here, venue is improper in this district for the reasons stated above, there is
    24

    25 no dispute that venue would be proper in the Southern District of Florida, where
    26
         Defendants are located.     Additionally, transferring this action to the Southern
    27
         District of Florida will save time and money, as all of the events giving rise to this
    28
                                                    18
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     1
         action took place in Florida, and this is where all of the evidence and witnesses are

     2 located.     Therefore, if this Court declines to dismiss this case, it should at least
     3
         transfer to the Southern District of Florida.
     4

     5         D. The complaint is comprised of typical shotgun pleadings
     6
               When a “complaint grouped multiple defendants together and failed to set out
     7
     8
         which of the defendants made which of the fraudulent statements/conduct …

     9 plaintiffs must amend their shotgun pleading to state clearly how each and every

    10
         defendant is alleged to have violated plaintiffs' legal rights. ... [E]veryone did
    11

    12
         everything allegations ... would lead to broad discovery and other pre-trial problems,

    13 and create an undue burden on the Court” and therefore should be dismissed.

    14
         Destfino v. Reiswig, 630 F.3d 952, 958 (9th Cir. 2011) (internal quotation omitted).
    15

    16 “Shotgun pleadings are pleadings that overwhelm defendants with an unclear mass

    17 of allegations and make it difficult or impossible for defendants to make informed

    18
         responses to the plaintiff's allegations.” Sollberger v. Wachovia Sec., LLC, No.
    19

    20 SACV 09–0766 AG (Anx), 2010 WL 2674456, at *4 (C.D. Cal. June 30, 2010).

    21 Additionally, “Shotgun pleadings are those that incorporate every antecedent

    22
         allegation by reference into each subsequent claim for relief or affirmative defense.
    23

    24 Shotgun pleadings wreak havoc on the judicial system. Such pleadings divert

    25 already stretched judicial resources into disputes that are not structurally prepared to
    26
         use those resources efficiently.” Wagner v. First Horizon Pharm. Corp., 464 F.3d
    27

    28 1273, 1279 (11th Cir. 2006)(internal citation omitted).
                                                  19
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     1
                   Here, the complaint bundles together 12 defendants, without specifying how

     2 each and every defendant specifically infringed or otherwise violated Plaintiff’s

     3
         rights.     Such allegations are typical “everyone did everything” allegations, and
     4

     5 makes it impossible for Defendants to provide informed responses, and creates an

     6 undue burden on this Court. Furthermore, each of the five claims in the complaint

     7
         fully incorporates its antecedent allegation by reference. 3 Such a pleading wreaks
     8

     9 havoc on the judicial system, diverts judicial resources, and therefore must be

    10 dismissed.
    11

    12             E. Count IV and V must be dismissed because its preempted by Federal
                      Copyright Act and the Lanham Trademark Act.
    13

    14             Plaintiffs Count IV and Count V must be dismissed because it is preempted

    15 by Federal copyright law. The rule is that:

    16
                         Federal copyright laws limit the states' ability to regulate unfair
    17                   competition. A state law cause of action is preempted by the Copyright
    18                   Act if two elements are present. First, the rights that a plaintiff asserts
                         under state law must be rights that are equivalent to those protected by
    19                   the Copyright Act. Second, the work involved must fall within the
    20                   subject matter of the Copyright Act as set forth in 17 U.S.C. §§ 102 and
                         103. Preemption analysis involves determining whether the state law
    21                   claim contains an element not shared by the federal law; an element
    22                   which changes the nature of the action so that it is qualitatively
                         different from a copyright infringement claim.
    23

    24

    25
    26  Count I is outlined in ❡ 28-31, Count II incorporates ❡ 1-31; Count II is outlined in
         3


    27
       ❡ 32-37, Count III incorporates ❡ 1-37; Count III is outlined in ❡ 38-41, Count IV
       incorporates ❡ 1-41; Count IV is outlined in ❡ 42-45, Count V incorporates ❡ 1-45.
    28
                                                       20
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     1
         Penpower Tech. Ltd. v. S.P.C. Tech., 627 F. Supp. 2d 1083, 1091 (N.D. Cal. 2008)

     2 (quoting Summit Mach. Tool Mfg. Corp. v. Victor CNC Sys., Inc., 7 F.3d 1434, 1439

     3
         (9th Cir.1993); Kodadek v. MTV Networks, Inc., 152 F.3d 1209, 1212 (9th
     4

     5 Cir.1998)) (internal citation omitted). More specifically, Courts in this circuit have

     6 found that claims under Cal. Bus. & Prof. Code § 17200 et seq. are preempted by

     7
         Federal copyright law. Kodadek v. MTV Networks, Inc., 152 F.3d 1209, 1212 (9th
     8

     9 Cir. 1998)(“Kodadek's complaint alleged unfair competition in violation of

    10 California Business and Professions Code § 17200 et seq. … Kodadek's unfair
    11
         competition claim is preempted”). Penpower Tech. Ltd., 627 F. Supp. 2d at 1091–92
    12

    13 (“the Court can discern no ‘qualitative’ difference between the § 17200 claims and

    14 the copyright infringement claim”).

    15
               Here, Count IV of the complaint for violations of Cal. Bus. & Prof. Code §
    16

    17 17200 et seq., is preempted by Federal Copyright Act and Lanham Trademark Act,

    18 because the right Plaintiff asserts under State law, namely “copying [Plaintiff]’s

    19
         copyrighted works, registered GoSports trademark, and the Washer Toss Trade
    20

    21 Dress,” [D.E. 9 at 12 ❡ 43], are equivalent to those protected by the Copyright Act

    22
         and the Lanham Trademark Act. Specifically, Plaintiff does not allege protection
    23

    24
         for a single element that is only protected under State law, but not protected under

    25 Federal law. Additionally, all of Plaintiff claims fall within the subject matter of the
    26
         Copyright Act and the Lanham Trademark Act, as Plaintiff seeks protection for a
    27

    28
                                                   21
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     1
         Federally registered trademarks and copyright works.         Therefore, Count IV of

     2 Plaintiff’s complaint must be dismissed, as it is preempted by Federal law.

     3
               Similarly, under the same analysis, Count V for California common law
     4

     5 unfair competition, is also preempted by the Federal Copyright Act and the Lanham

     6 Trademark Act, as Plaintiff does not assert any right protected under State law, not

     7
         covered under the Copyright Act and the Lanham Trademark Act, but merely seeks
     8

     9 protection for Federally registered trademarks and copyright works.          Therefore,

    10 Count V of Plaintiff’s complaint must also be dismissed, as it is preempted by
    11
         Federal law.
    12

    13         F. Count V must be dismissed for failure to comply with Rule 9(b).
    14
               Fed. R. Civ. P. 9(b) provides the requirements for pleading actions involving
    15

    16 fraud as follows:

    17
                        In alleging fraud or mistake, a party must state with particularity the
    18                  circumstances constituting fraud or mistake.
    19
         “It is established law, in this circuit and elsewhere, that Rule 9(b)'s particularity
    20
         requirement applies to state-law causes of action.” Vess v. Ciba-Geigy Corp. USA,
    21

    22 317 F.3d 1097, 1103 (9th Cir. 2003). Furthermore, even if a cause of action does
    23
         not require fraud as a necessary element, when a Plaintiff nevertheless chooses to
    24
         allege fraud, it must meet the Rule 9(b) particularity requirements. Id. To satisfy
    25
    26 Rule 9(b), a Plaintiff must provide “the who, what, when, where, and how of the

    27
         misconduct charged, including what is false or misleading about a statement, and
    28
                                                    22
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     1
         why it is false. Broad allegations that include no particularized supporting detail do

     2 not suffice.” Puri v. Khalsa, 674 Fed. Appx. 679, 687 (9th Cir. 2017) (internal

     3
         citation and quotation omitted).
     4

     5           Here, Plaintiff generally alleges upon information and belief, “that

     6 Defendants’ acts have been done oppressively, fraudulently, and maliciously.” [D.E.

     7
         9 at 13 ❡ 49]. Yet, Plaintiff fails to provide the who, what ,when, where and how
     8

     9 Defendants fraud allegedly occurred, but instead generally alleges fraud without

    10
         any underlying details or factual support.     Such allegations fail to satisfy the
    11
         requirements of Fed. R. Civ. P. 9(b), and therefore must be dismissed.
    12

    13
         IV.     Conclusion
    14
               WHEREFORE, Defendants respectfully requests that this Court dismiss
    15

    16 Plaintiff’s complaint in its entirety, or in the alternative, transfer the case to the

    17
         Southern District of Florida, and award such further relief as the Court deems just
    18
         and appropriate.
    19

    20

    21

    22
    23

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    26

    27

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                                                   23
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                                  CERTIFICATE OF SERVICE
     1
     2        I hereby certify that I electronically filed the foregoing documents with the

     3 Clerk of the Court for the United States District Court for the Central District of

     4 California by using the CM/ECF system on July 8, 2019.

     5   NOTICE AND MOTION TO DISMISS PLAINTIFF’S FIRST AMENDED

     6   COMPLAINT OR ALTERNATIVELY TO TRANSFER AND

     7   MEMORANDUM IN SUPPORT; AFFIDAVIT OF JACOB WEISS IN

     8   SUPPORT OF MOTION; AND PROPOSED ORDER

     9        Participants in the case who are registered CM/ECF users will be served by

    10 the CM/ECF System.
    11        I certify under penalty of perjury that the foregoing is true and correct.

    12 Executed July 8, 2019, at Miramar, Florida.

    13                                            BY: /s/ Shlomo Y Hecht
    14                                            Shlomo Y Hecht
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                                         CERTIFICATE OF SERVICE
